Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 1 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 2 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 3 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 4 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 5 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 6 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 7 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 8 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 9 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 10 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 11 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 12 of 13
Case 4:20-cr-00096-FL Document 1 Filed 10/15/20 Page 13 of 13
